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 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-442-LKK
12                                 Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                         STATUS CONFERENCE DATE AND
13                          v.                           EXCLUDING TIME UNDER THE SPEEDY TRIAL
                                                         ACT
14   BRANDON MCMURRIAN, ET AL.,
                                                         Court: Hon. Lawrence K. Karlton
15                                Defendants.
16

17          It is hereby stipulated and agreed by and between plaintiff United States of America, on the one
18   hand, and defendants Brandon McMurrian, Joel Murdoch, Kevin Ayler, and Allen Lane, on the other
19
     hand, through their respective attorneys, that: (1) the presently set January 22, 2014, status conference
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     hearing shall be continued to March 11, 2014, at 9:15 a.m.; and (2) time from the date of the parties'
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     stipulation, January 17, 2014, through, and including, March 11, 2014, shall be excluded from
22

23   computation of time within which the trial of this matter must be commenced under the Speedy Trial

24   Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4. This continuance is

25   requested to allow additional time for both the prosecutor and defense counsel to prepare and is based on
26   the following: (1) the United States has additional discovery comprised of approximately two inches of
27
     documents, including documents that would describe information provided by incarcerated prisoners,
28
     who are cooperating with the United States and who would testify as prosecution witnesses; (2) the
      STIPULATION AND ORDER CONTINUING                 1
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 1   United States desires to produce the discovery (redacted of personal identifying information) and

 2   believes that the production of such discovery might help facilitate the settlement of this case; however,
 3
     the United States is concerned that the production of such discovery would identify the cooperating
 4
     incarcerated prisoners and endanger the witnesses' safety; (3) the United States desires to produce this
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     additional discovery after the Bureau of Prisons has had an opportunity to assess and determine whether
 6
     the cooperating prisoners need to be relocated to help ensure their safety and help prevent physical
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 8   retribution for their cooperation in this case; and (4) after the production of this discovery, defense

 9   counsel will need time to review this discovery and discuss the discovery and its ramifications with their
10   respective clients.
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              Accordingly, the parties stipulate and agree that the Court shall find that: (1) the failure to grant
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     the requested continuance in this case would deny all counsel reasonable time necessary for effective
13
     preparation, taking into account the exercise of due diligence; and (2) the ends of justice served by the
14

15   granting of such a continuance outweigh the best interests of the public and the defendants in a speedy

16   trial.

17            Dated: January 17, 2014                        /s/ Michael Long
                                                             MICHAEL LONG
18
                                                             Attorney for Defendant
19                                                           BRANDON McMURRIAN
                                                             (per email authorization)
20

21                                                           /s/ Donald Dorfman
                                                             DONALD DORFMAN
22
                                                             Attorney for Defendant
23                                                           JOEL MURDOCH
                                                             (per email authorization)
24

25                                                           /s/ Steve Plesser
                                                             STEVE PLESSER
26
                                                             Attorney for defendant
27                                                           Kevin Ayler
                                                             (per email authorization)
28

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       STATUS CONFERENCE
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 1                                                         /s/ Michael Bigelow
                                                           MICHAEL BIGELOW
 2                                                         Attorney for defendant
                                                           Allen Lane
 3
                                                           (per telephone authorization)
 4

 5                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
 6
                                                         /s/ Samuel Wong
 7
                                                   By: _______________________
 8                                                       SAMUEL WONG
                                                         Assistant U.S. Attorney
 9

10                                                     ORDER
11
            The Court, having received, read, and considered the stipulation of the parties, and good cause
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     appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
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     representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure
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     to grant a continuance in this case would deny all counsel reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice to
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     be served by granting a continuance outweigh the best interests of the public and the defendants in a
17
     speedy trial. It is ordered that time beginning from the parties' stipulation on January 17, 2014, up to
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     and including the March 11, 2014, status conference shall be excluded from computation of time within
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     which the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
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     § 3161(h) (7) (A) and (B) (iv) and Local Code T 4, to allow all counsel reasonable time to prepare.
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22          Dated: January 21, 2014

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      STIPULATION AND ORDER CONTINUING                     3
      STATUS CONFERENCE
